 Case 8:21-cv-01477-CEH-AAS Document 1 Filed 06/17/21 Page 1 of 12 PageID 1




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

BRYAN HILL,
Individual,
                                        Case No.:
      Plaintiff,
v.

PNC BANK, N.A.,
a foreign entity,

     Defendant.
_________________________________________/



                                   COMPLAINT

      COMES NOW, Plaintiff, BRYAN HILL (hereinafter, “Plaintiff”), by and

through the undersigned counsel, and hereby sues Defendant, PNC BANK, N.A.

(hereinafter, “Defendant”). In support thereof, Plaintiff states:

                       PRELIMINARY STATEMENT

      1.     This is an action for damages for violations of the Florida Consumer

Collection Practices Act, Chapter 559, Florida Statutes (hereinafter, “FCCPA”), the

Telephone Consumer Protection Act, 47 United States Code, Section 227 et seq.

(hereinafter, “TCPA”), and Invasion of Privacy - Intrusion upon Seclusion, as

derived from § 652B of the Restatement (Second) of Torts, wherein Defendant

unlawfully attempts to collect consumer debt from Plaintiff via harassing and


                                          1
 Case 8:21-cv-01477-CEH-AAS Document 1 Filed 06/17/21 Page 2 of 12 PageID 2




unlawful means, including unlawful calls to Plaintiff’s cellular telephone using an

automatic telephone dialing system, a predictive telephone dialing system, or an

artificial or pre-recorded voice, despite lacking Plaintiff’s consent to make such calls

to his cellular telephone.

                      JURISDICTION, VENUE & PARTIES

       1.    Jurisdiction of this Court arises under 47 United States Code, Section

227(b)(3) for the TCPA, and supplemental jurisdiction exists for the FCCPA claims

pursuant to 28 United States Code, Section 1367.

       2.    Defendant is subject to the jurisdiction of this Court as it regularly

transacts business in this District, and the events described herein occur in this

district.

       3.    Venue is proper in this District as the acts and transactions described

herein occur in this District.

       4.    At all material times herein, Plaintiff is a natural person residing in

Hillsborough County, Florida and is a “consumer” as defined by the FCCPA.

       5.    At all material times herein, Defendant is a foreign entity that does

business in Florida and is a “creditor” as defined by the FCCPA.

       6.    Plaintiff is the subscriber, regular user, and carrier of the cellular

telephone number, (813-XXX-9069) (hereinafter, “Plaintiff’s Cellular Telephone” or




                                           2
 Case 8:21-cv-01477-CEH-AAS Document 1 Filed 06/17/21 Page 3 of 12 PageID 3




“Cellular Telephone”) and was the called party and recipient of Defendant’s artificial

and pre-recorded calls, as referenced below.

                       TCPA STATUTORY STRUCTURE

       8.    Congress enacted the TCPA in effort to restrict pervasive use of

telemarketing and increasing use of cost-effective telemarketing techniques. Pub L.

102-243, § 2, Dec. 20, 1991, 105 Sta. 2394 (1) and (8).

       9.    Congress found that “[u]nrestricted telemarketing…can be an intrusive

invasion of privacy…” and it intended to prevent automated or pre-recorded

telephone calls as “the only effective means of protecting telephone consumers from

this nuisance and privacy invasion.” Id. at (5) and (12).

       10.   Under the TCPA, any person who initiates calls to any number assigned

to a cellular telephone service using any automated telephone dialing system or

artificial or prerecorded voice without the recipient’s prior express consent is liable

to the recipient for actual monetary loss, or up to $500.00 in damages for each

violation of the TCPA, whichever is greater. 47 U.S.C. § 227(b)(3)(B).

       11.   Additionally, under the TCPA, the court may increase the damage

award up to three (3) times, up to $1,500.00, for each willful or knowing violation

of the TCPA. Id. at § 227(b)(3)(C).

                       FCCPA STATUTORY STRUCTURE


                                           3
 Case 8:21-cv-01477-CEH-AAS Document 1 Filed 06/17/21 Page 4 of 12 PageID 4




      12.     The FCCPA is a state consumer protection statute, modeled after the

FDCPA, a statute designed to prohibit unfair, deceptive, and abusive practices in the

collection of consumer debts as well as to protect against the invasion of individual

privacy. 15 U.S.C., §§ 1692(a) and (e); Fla. Stat. §§ 559.55 and 559.77(5).

      13.    The FCCPA imposes liability on any creditor/person as well as any debt

collector—who “uses any instrumentality of interstate commerce or the mails in any

business the principal purposes of which is the collection of any debts,” or who

“regularly collects or attempts to collect, directly or indirectly, debts owed or due or

asserted to be owed or due to another” and both statutes prohibit engaging in particular

violative conduct in connection with collecting consumer debts. Fla. Stat. § 559.55(5).

      14.    Specifically,    the   FCCPA       prohibits     unlawful   debt   collection

“communication” with consumer debtors, which is defined as “the conveying of

information regarding a debt directly or indirectly to any person through any medium.”

Fla. Stat. § 559.55(2) (emphasis added).

      15.    The FCCPA prohibits a debt collector and/or person from harassing a

debtor by frequent calling etc. See Fla. Stat. § 559.72(7).

                             GENERAL ALLEGATIONS

      16.    At all material times herein, Defendant, itself and through its

subsidiaries, regularly service personal credit cards—and collect debts associated




                                            4
 Case 8:21-cv-01477-CEH-AAS Document 1 Filed 06/17/21 Page 5 of 12 PageID 5




with the same—from consumers in Hillsborough County, Florida.

      17.    At all material times herein, Defendant attempts to collect consumer

debt from Plaintiff, including but not limited to, a personal credit card balance

(Account No. -3254) allegedly due from Plaintiff (hereinafter, the “Debt”).

      25.    At all material times herein, the Debt is a consumer debt, an obligation

resulting from transactions for goods or services incurred primarily for personal,

household, or family use.

      26.    At all material times herein, Defendant’s conduct, with respect to the

Debt complained of below, qualifies as “communication” as defined by the FCCPA.

      27.    At all material times herein, Defendant acts themselves or through their

agents, employees, officers, members, directors, successors, assigns, principals,

trustees, sureties, subrogees, representatives, third-party vendors, and insurers.

      28.    All necessary conditions precedent to the filing of this action occurred,

or Defendants waived the same.

                            FACTUAL ALLEGATIONS

      29.    On February 4, 2021, Plaintiff mailed a Cease and Desist Letter to

Defendant and revoked consent for Defendant to call his Cellular Telephone. A true

and correct copy of Plaintiff’s Cease and Desist Letter is attached as Exhibit A.

      30.    Defendant received Plaintiff’s Cease and Desist Letter on February 8,

2021 at approximately 8:45 A.M.


                                           5
 Case 8:21-cv-01477-CEH-AAS Document 1 Filed 06/17/21 Page 6 of 12 PageID 6




      31.    Despite this, Defendant placed approximately nineteen (19) automated

calls and text messages to Plaintiff’s cellular telephone in attempts to collect the debt.

A true and correct copy of Plaintiff’s Call Log is attached as Exhibit B.

      32.    Defendant left pre-recorded messages on Plaintiff’s cellular telephone

voicemail.

      33.    Defendant—or their authorized vendor or third-party agent acting within

a scope of authority granted by Defendant, with the knowledge of Defendant, and

under the control of the Defendant—used an automated telephone dialing system or

predictive telephone dialing system to place calls to Plaintiff’s Cellular Telephone.

      34.    As a result, Defendant’s subsequent, repeated attempts to induce payment

were made with the intent to exhaust Plaintiff’s will and harass Plaintiff.

      35.    Defendant’s conduct caused Plaintiff to suffer injuries in fact through

significant anxiety, emotional distress, frustration, and anger, especially during the

middle of a global pandemic.

      36.    Florida Statutes, Section 559.77, provides for the award of up to

$1,000.00 statutory damages, actual damages, punitive damages, an award of

attorneys’ fees, and costs to Plaintiff, should Plaintiff prevail in this matter against

Defendant.

      37.    United States Code, Title 47, Section 227(b)(3) provides for the award

of $500.00 or actual damages, whichever is greater, for each telephone call placed


                                            6
 Case 8:21-cv-01477-CEH-AAS Document 1 Filed 06/17/21 Page 7 of 12 PageID 7




using any automatic telephone dialing system or an artificial or pre-recorded voice

to Plaintiff’s Cellular Telephone in violation of the TCPA or the regulations

proscribed thereunder.

      38.    Additionally, the TCPA, Section 227(b)(3) allows the trial court to

increase the damages up to three times, or $1,500.00, for each telephone call placed

using any automatic telephone dialing system or an artificial or prerecorded voice to

Plaintiff’s Cellular Telephone in willful or knowing violation of the TCPA or the

regulations proscribed thereunder.

                         COUNT ONE:
            UNLAWFUL DEBT COLLECTION PRACTICES –
        VIOLATION OF FLORDA STATUTES, SECTIONS 559.72(7)

      Plaintiff re-alleges paragraphs one (1) through thirty-eight (38) as if fully

restated herein and further states as follows:

      39.    Defendant is subject to, and violated the provisions of, Florida Statutes,

Section 559.72(7) by collecting the consumer Debt from Plaintiff through means

which can reasonably be expected to abuse or harass Plaintiff.

      40.    Specifically, as noted above, although Plaintiff sent a written Cease and

Desist Letter requesting the calls to stop, Defendant continued to bombard Plaintiff’s

Cellular Telephone with collection calls.

      41.    As a direct and proximate result of Defendant’s actions, Plaintiff

sustained damages as defined by Florida Statutes, Section 559.77.


                                            7
 Case 8:21-cv-01477-CEH-AAS Document 1 Filed 06/17/21 Page 8 of 12 PageID 8




                        COUNT TWO:
          TELEPHONE CONSUMER PROTECTION ACT-
   VIOLATION OF 47 UNITED STATES CODE, SECTION 227(b)(1)(A)

      Plaintiff re-alleges paragraphs one (1) through thirty-eight (38) as if fully

restated herein and further states as follows:

      42.    Defendant is subject to, and violated the provisions of, 47 United States

Code, Section 227 (b)(1)(A) by using an automatic telephone dialing system, a

predictive telephone dialing system, or an artificial or pre-recorded voice to call a

telephone number assigned to a cellular telephone service without Plaintiff’s prior

express consent.

      43.    Defendant used an automatic telephone dialing system or an artificial

or pre-recorded voice to unlawfully call Plaintiff’s Cellular Telephone in its

attempts to collect the Debt.

      44.    If Defendant contends they possessed prior express consent, Plaintiff

revoked such consent on February 4, 2021.

      45.    Defendant’s telephone calls complained of herein are the result of

repeated willful and knowing violations of the TCPA.

      46.    As a direct and proximate result of Defendant’s conduct, Plaintiff

suffered:

             a.     The periodic loss of his cell phone service;




                                           8
 Case 8:21-cv-01477-CEH-AAS Document 1 Filed 06/17/21 Page 9 of 12 PageID 9




             b.     Lost material costs associated with the use of cell phone minutes

      allotted under his cell phone service contract;

             c.     The expenditure of costs and attorney’s fees associated with the

      prosecution of this matter;

             d.     Stress, anxiety, loss of sleep, and deterioration of relationships,

      both personal and professional, as a result of the repeated willful and knowing

      calls placed in violation of the TCPA; and

             e.     Statutory damages.

                        COUNT THREE:
        INVASION OF PRIVACY-INTRUSION UPON SECLUSION

      47.    Plaintiff re-alleges paragraphs one (1) through thirty-eight (38) as if

fully restated herein and further states as follows:

      48.    Restatement of the Law, Second, Torts, § 652(b) defines intrusion upon

seclusion as, “one who intentionally intrudes, physically or otherwise, upon the

solitude or seclusion of another.” See Purrelli v. State Farm Fire and Cas. Co., 698

So. 2d 618, 620 (Fla. 2d DCA 1997).

      49.    Defendant violated Plaintiff’s privacy.

      50.    Defendant’s violations include, but are not limited to, the following:

             a.     Defendant intentionally intruded, physically or otherwise, upon

      Plaintiff’s solitude and seclusion by intentionally placing voluminous



                                           9
Case 8:21-cv-01477-CEH-AAS Document 1 Filed 06/17/21 Page 10 of 12 PageID 10




         annoying, hounding, and harassing telephone calls to Plaintiff in an attempt

         to collect on an alleged debt despite Plaintiff’s Cease and Desist Letter.

               b.     Defendant intentionally, and not accidently, generated a high

         frequency of telephone calls to Plaintiff Cellular Telephone.

         51.   Defendant’s conduct is unreasonable and highly offensive to a

reasonable person as Defendant’s frequent telephone calls often interrupted

Plaintiff’s sleep schedule.

         52.   Defendant’s acts, as described above, were done intentionally with the

purpose of coercing Plaintiff to pay the Debt.

         53.   As a direct and proximate result of Defendant’s conduct, Plaintiff

suffered stress, anxiety, loss of sleep, and deterioration of relationships, both

personal and professional, as a result of the repeated harassing and hounding

telephone call campaign, which continued even after Plaintiff requested that the calls

cease.

         54.   As a result of Defendant’s violations of Plaintiff’s privacy, Defendant

is liable to Plaintiff for actual damages.

                                PRAYER FOR RELIEF

         WHEREFORE, as a direct and proximate result of Defendant’s conduct,

Plaintiff respectfully requests an entry of:

         a.    Judgment against Defendant declaring that Defendant violated the


                                             10
Case 8:21-cv-01477-CEH-AAS Document 1 Filed 06/17/21 Page 11 of 12 PageID 11




FCCPA;

      b.     Judgment against Defendant for maximum statutory damages for

violations of the FCCPA;

      c.     Judgment against Defendant for maximum statutory damages for

violations of the TCPA;

      d.     Judgment against Defendant declaring that Defendant invaded

Plaintiff’s privacy and intruded upon Plaintiff’s seclusion;

      e.     Actual damages;

      f.     An award of attorneys’ fees and costs; and

      g.     Any other such relief the Court may deem proper.

                          DEMAND FOR JURY TRIAL

      Plaintiff hereby demands a trial by jury on all issues triable by right.

     SPOLIATION NOTICE AND DEMAND TO RETAIN EVIDENCE

      Plaintiff hereby gives notice to Defendant and demands that Defendant and

their affiliates safeguard all relevant evidence—paper, electronic documents, or

data—pertaining to this litigation as required by law.



                                       Respectfully submitted,




                                          11
Case 8:21-cv-01477-CEH-AAS Document 1 Filed 06/17/21 Page 12 of 12 PageID 12




                                 SWIFT, ISRINGHAUS & DUBBELD, P.A.
                                   /s/ Jon P. Dubbeld
                                   Jon P. Dubbeld, Esq., FBN 105869
                                   Jordan T. Isringhaus, Esq., FBN 0091487
                                   Aaron M. Swift, Esq., FBN 0093088
                                   Sean E. McEleney, Esq., FBN 125561
                                   Swift, Isringhaus & Dubbeld, P.A.
                                   8380 Bay Pines Blvd.
                                   St. Petersburg, FL 33709
                                   Phone: (727) 755-3676
                                   Fax: (727) 255-5332
                                   jdubbeld@swift-law.com
                                   aswift@swift-law.com
                                   jisringhaus@swift-law.com
                                   smceleney@swift-law.com
                                   Attorneys for Plaintiff




                                     12
